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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW MEXICO

CORNELIUS MACKEY,

                Plaintiff,

v.                                                                 No. 1:21-cv-01065

DILLARD’S, INC., JON NOTZ, Individually
And as Agent of Dillard’s Inc., and JULIE DOE,
Individually and as Agent of Dillard’s Inc.,

                Defendants.

                                   ENTRY OF APPEARANCE

        Please take notice that Tiffany L. Roach Martin and Amanda N. Krasulick of the law

firm Modrall, Sperling, Roehl, Harris & Sisk P.A. hereby enter their appearance of record on

behalf of Defendants Dillard’s, Inc. and Jon Notz in this matter on this 3rd day of November,

2021.

                                      MODRALL, SPERLING, ROEHL, HARRIS
                                        & SISK, P.A.

                                      By: /s/ Amanda N. Krasulick
                                         Tiffany L. Roach Martin
                                         Amanda N. Krasulick
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                                         Albuquerque, New Mexico 87102
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                                         amanda.krasulick@modrall.com
                                         Attorneys for Defendants Dillard’s, Inc. and Jon Notz

                                  CERTIFICATE OF SERVICE

        WE HEREBY CERTIFY that on this 3rd day of November, 2021, we filed the foregoing
electronically through the CM/ECF system, which caused the following parties or counsel to be
served by electronic means, as more fully reflected on the Notice of Electronic Filing.

MODRALL, SPERLING, ROEHL, HARRIS
  & SISK, P.A.

By:/s/ Amanda N. Krasulick
    Amanda N. Krasulick

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